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 1                      UNITED STATES COURT OF APPEALS
                            FOR THE SECOND CIRCUIT
 2
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 3
        IN RE: APPLICATION OF         :
 4      HORNBEAM CORPORATION          :
                                      :
 5      - - - - - - - - - - - - - - - x
                                      :
 6      PANIKOS SYMEOU,               :
                                      :
 7              Intervenor-Appellant :
                                      :                NO. 17-658
 8                   vs.              :
                                      :
 9      HORNBEAM CORPORATION,         :
                                      :
10                          Appellee :

11      ----------------------------------------------------

12                          Transcript of audio of the hearing

13      before the United States Court of Appeals for the

14      Second Circuit, in the above matter, held at the

15      United States Courthouse, Foley Square, in the City

16      of New York, on Thursday, January 4, 2018.

17                                    - - - - -

18      PRESENT:

19                       JOHN M. WALKER, JR.,
                         REENA RAGGI,
20                       RAYMOND J. LOHIER, JR.,

21                                               Circuit Judges

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 1      A P P E A R A N C E S:

 2                       MARKS & SOKOLOV, LLC
                         BY: BRUCE S. MARKS, ESQUIRE
 3                          11 Penn Center - 28th Floor
                            1835 Market Street
 4                          Philadelphia, Pennsylvania              19103

 5                               Counsel for Appellant

 6                       HOGAN LOVELLS US, LLP
                         BY: DENNIS H. TRACEY, III, ESQUIRE
 7                          875 Third Avenue
                            New York, New York 10022
 8
                                 Counsel for the Appellee
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 1                                THE COURT:       All right, then, the

 2                   first case is In Re:          Application of

 3                   Hornbeam Corp., Symeou vs. Hornbeam

 4                   Corporation.

 5                                Thank you.

 6                                MR. MARKS:       May I begin, Your

 7                   Honor?

 8                                MR. TRACEY:       Yes, please.

 9                                MR. MARKS:       I'm Bruce Marks.     I

10                   reserve two minutes for rebuttal.

11                                Your Honor, the twin aims of

12                   Section 1782 were to provide efficient

13                   means of assistance to participants in

14                   international litigation, to encourage

15                   foreign countries to provide such

16                   assistance to our courts.

17                                I'd suggest that congress in

18                   foreign countries would not consider what

19                   occurred in this case to be effective or

20                   worthy of encouragement.

21                                Let me suggest six things which

22                   happened.

23                                One, here, an American court

24                   held an ex parte hearing, without any


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 1                   reason, heard one-sided argument from

 2                   Hornbeam; never asked why the adverse

 3                   parties were not notified, never asked

 4                   what they would have said if they had been

 5                   there, and adopted almost verbatim

 6                   Hornbeam's proposal order --

 7                                THE COURT:       Is the issue of

 8                   whether a 1792 application could be filed

 9                   ex parte is moot?

10                                MR. MARKS:       No, it's not moot.

11                                THE COURT:       Why not?

12                                MR. MARKS:       And I'll tell you

13                   why.

14                                THE COURT:       There is a response

15                   to the arguments in their briefs about

16                   that.

17                                MR. MARKS:       Yes, sure.      This

18                   case is different than the other cases

19                   that held in dicta that there was a

20                   practice to decide these ex parte.                 This

21                   case is different for three reasons, and

22                   they are described in our brief.

23                                We suffered harm.         They got

24                   ex parte discovery, took discovery, and


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 1                   got extensive bank records, containing

 2                   confidential information, without any

 3                   notice at all, because this was ex parte,

 4                   and they possessed them for over five

 5                   months before we learned about it.

 6                                Number two --

 7                                THE COURT:       How are you

 8                   prejudiced by that?

 9                                MR. MARKS:       Your Honor, they had

10                   our records for five months, containing

11                   personal information about Symeou and the

12                   companies.      They could be do anything

13                   without -- anything that they wanted with

14                   them.    They could have given them to the

15                   New York Times.        There was no protective

16                   order.     I don't think there's any --

17                                THE COURT:       How are you actually

18                   prejudiced?      Apart from what they could be

19                   or what they might have done, how are you

20                   actually prejudiced?

21                                You had the chance to come back

22                   make your motion and litigate this matter.

23                                MR. MARKS:       We are prejudiced by

24                   the mere fact, Your Honor, that they had


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 1                   them for five months, we didn't know about

 2                   it; there was no protective order in

 3                   place, and they used that information in

 4                   the Ohio state court.

 5                                There's an affidavit from their

 6                   attorney that they took that information,

 7                   they used it in the Ohio state court, and

 8                   we know ultimately when we got in this

 9                   case the court entered a protective order

10                   and only allowed that information to be

11                   used in the BVI.

12                                So there was clear prejudice by

13                   them using information that we never knew

14                   that they had, in a domestic proceeding in

15                   the United States, when we all know that

16                   1782 -- right? -- is designed for aid

17                   outside the --

18                                THE COURT:       What is to

19                   preclude --

20                                THE COURT:       What is the status

21                   of the Ohio action?

22                                MR. MARKS:       Excuse me?

23                                THE COURT:       What's the current

24                   status of the Ohio action?


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 1                                MR. MARKS:       It was dismissed in

 2                   part for forum non conveniens, that they

 3                   should be refile in the BVI.            The

 4                   dismissal was affirmed, and here we are

 5                   three --

 6                                THE COURT:       So I go back to my

 7                   original question, in terms of actual

 8                   prejudice.

 9                                MR. MARKS:       Your Honor, in terms

10                   of actual prejudice, as I say, they had

11                   our information for five months without us

12                   knowing about it.        They used it in a BVI.

13                   And we don't really know what they did

14                   with it.

15                                The principal of the other side,

16                   Hornbeam, has it.        The fact is that they

17                   haven't filed any litigation, so it would

18                   appear they haven't used it in litigation,

19                   but nobody wants their adversary, who is

20                   involved in competing businesses, to have

21                   information to which they are not entitled

22                   for a long period of time.

23                                So that is a --

24                                THE COURT:       Why is it the


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 1                   appropriate remedy, as I understand it,

 2                   that you are seeking is a vacatur of the

 3                   ex parte order since Judge Broderick here,

 4                   as I understand it, said it would have

 5                   granted Hornbeam's application even if you

 6                   participated in the initial hearing?

 7                                MR. MARKS:       Well, let me say

 8                   this about that.        If something does

 9                   something improperly, if you are not

10                   entitled to get something ex parte, there

11                   should be a remedy for that.            Because if

12                   there is no remedy, if you just say "Well,

13                   I would have done that anyhow," then there

14                   is no sanction for doing things ex --

15                                THE COURT:       The law doesn't

16                   operate that way.        There are all sorts of

17                   circumstances, even in the criminal

18                   context, where something shouldn't have

19                   happened the way it did, but if it would

20                   have happened properly in any event, the

21                   law tolerates it.

22                                So here you had a judge grant a

23                   protective order.        We're talking about

24                   what actual prejudice there was, and I


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 1                   haven't heard any identified.             So in that

 2                   sense, the remedy you are seeking seems to

 3                   be excessive.

 4                                What am I missing?

 5                                MR. MARKS:       Your Honor, we're

 6                   seeking different remedies.            One of the

 7                   remedies that we suggested, at a minimum,

 8                   the court should order them to destroy the

 9                   records.     They have nothing to do with the

10                   dispute over Warren Steel.            They have bank

11                   records of our clients, have nothing to do

12                   with the dispute.

13                                If their claim is that there

14                   were improper transactions with

15                   Warren Steel or Halliwell, then give them

16                   those bank records.         That's what the judge

17                   in Alabama did.

18                                Let's not forget.         Every judge

19                   who entered an ex parte order, who then

20                   heard our side, changed the order.                 In

21                   Ohio the judge stayed the discovery before

22                   they could serve subpoenas.

23                                In Alabama, and this is the very

24                   important, once the judge there heard us,


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 1                   she said, "You know what?            I'm only going

 2                   to give them the bank records of

 3                   Warren Steel and Halliwell.            You don't get

 4                   the bank records of the individuals.                You

 5                   don't get the bank records of the related

 6                   companies."

 7                                 That's really the most important

 8                   prejudice that we have suffered, because

 9                   they are not entitled to it.

10                                 Let them have the bank records

11                   of Warren Steel.         Let them have the bank

12                   records of Halliwell.          But as a means of

13                   addressing what happened, whether it's a

14                   sanction or whether because the discovery

15                   was too intrusive, too overly broad, that

16                   is the most important thing that we're

17                   asking the court to do, make them destroy,

18                   give back the bank records that have

19                   nothing to do with the companies of which

20                   they have an interest.

21                                 And there's other grounds Your

22                   Honor can do that.         But, admittedly, they

23                   didn't fulfill their duty of disclosure.

24                                 You asked me, "Well, what should


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 1                   you do about that?"          You're going to say,

 2                   well, there was no prejudice because it

 3                   would have decided that anyhow.              That's

 4                   not right.

 5                                 If you have a duty of

 6                   disclosure, and you admittedly violate it,

 7                   the judge held, well, you know, you can't

 8                   sanction the party.          That's just simply

 9                   wrong.     The Supreme Court has said if the

10                   attorney does something wrong, you can

11                   sanction the party.

12                                 We all know under Rule 45, if

13                   you issue subpoenas without notice, and

14                   that's what happened here --

15                                 THE COURT:      Can you identify a

16                   case where we've vacated a 1782 order for

17                   something other than the failure to

18                   satisfy?

19                                 MR. MARKS:      No, Your Honor, I

20                   can't, because this is the first time that

21                   I am aware of in this circuit where there

22                   was clearly a violation of duty of

23                   disclosure.

24                                 The judge found that.          The judge


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 1                   said that there were clearly things that

 2                   should have been told to me that weren't.

 3                                 We know that from Ohio, Your

 4                   Honor, because when the judge there

 5                   learned that they couldn't bring new BVI

 6                   proceedings until they paid the $800,000

 7                   judgment, she immediately stayed the case

 8                   until they did it.         They never did.          And

 9                   that was wrong, too.

10                                 There's a BVI policy that you

11                   can't bring a new case until you pay your

12                   judgment from the old one.            The judge

13                   should have never given the discovery in

14                   the first place.         And that's what happened

15                   in Ohio.

16                                 What she said, "You know what,

17                   they haven't paid the judgment?"              You

18                   know, we all know under the discretionary

19                   factors of 1782, one reason not to give

20                   discovery is because it violates the

21                   public policy of either the United States

22                   or another country.          They couldn't use the

23                   records in the BVI, because the court

24                   wouldn't have allowed the new proceeding


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 1                   to go forward.

 2                                 THE COURT:      Until they paid the

 3                   fine.

 4                                 MR. MARKS:      Yes, and they

 5                   didn't.

 6                                 THE COURT:      But we don't know

 7                   that they wouldn't.

 8                                 MR. MARKS:      Well, the judge

 9                   said, "Give me a break" in Ohio.              She said

10                   it's so small, if he's so rich, he would

11                   have paid the fine, but he didn't.                  We

12                   actually know what happened.

13                                 The only reason that he paid the

14                   fine is we brought execution proceedings

15                   in the BVI against the shares, and they

16                   ultimately had to pay the fine, or else we

17                   would have taken the shares, and then

18                   Hornbeam would have had no interest in

19                   Halliwell.

20                                 But, Your Honor, the other issue

21                   on the issue of sanctions and prejudice,

22                   and Rule 45 we know the cases are legion;

23                   if you serve subpoenas without notice,

24                   which is what happened here, and then you


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 1                   get discovery, which is what happened

 2                   here, one of the sanctions that they give,

 3                   even if the court would have said that

 4                   subpoena is fine, they say you can't use

 5                   the discovery, but where we're focused on

 6                   here, Your Honor, is the records that

 7                   don't have to do with Halliwell and

 8                   Warren Steel.        They should have never

 9                   received those records.           It's intrusive.

10                   It's overly broad.         They are not related

11                   to their dispute.

12                                 They haven't even filed a case,

13                   anyhow.      So if they violated the duty of

14                   disclosure, if they served subpoenas

15                   without notice, or if you just find

16                   independently, which you can do, that the

17                   discovery was too intrusive, at the end of

18                   day, that is the remedy that we are

19                   seeking.

20                                 Thank you, Judge.

21                                 MR. TRACEY:      Dennis Tracey for

22                   Hornbeam.

23                                 Your Honors, this discovery

24                   order, and similar ones, have been issued


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 1                   by five different federal courts around

 2                   the country and reviewed extensively by

 3                   them on motions by Mr. Symeou, and in all

 4                   five cases the order was issued.

 5                                 Indeed, it's been reviewed by

 6                   the 11th Circuit.         The 11th Circuit has

 7                   considered virtually all of the arguments

 8                   that are being made here, including the

 9                   argument about issuance ex parte, and has

10                   upheld the discovery order.            It's clearly

11                   a proper order under 1782.            This court has

12                   held numerous times, as has every other

13                   court that's considered it, that these

14                   proceedings may be done ex parte, is

15                   commonplace, and it is appropriate.

16                                 The --

17                                 THE COURT:      Mr. Marks is asking

18                   for a very limited remedy, which is to

19                   destroy the bank records that have nothing

20                   to do with Halliwell or Warren Steel, and

21                   I take it that your response is going to

22                   be that all of these documents at least

23                   will shed light on the alleged fraudulent

24                   scheme, right?


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 1                                 MR. TRACEY:      Your Honor, this

 2                   issue of the breadth of discovery, I would

 3                   break it down into two pieces, perhaps.

 4                   The first is, whether the actual -- there

 5                   were certain documents that were produced

 6                   by the banks that were erroneously

 7                   produced.      In other words, they were

 8                   related to other parties, had nothing to

 9                   do with this party.          So those are, you

10                   know, not relevant to this case.              We don't

11                   care about them.         They are never going to

12                   be used.      They are subject to a protective

13                   order, so they can never be disclosed to

14                   anybody or used in any proceeding.

15                                 The complaint that has been

16                   raised by Mr. Symeou is that the documents

17                   that the court authorized be produced is

18                   overbroad, and we don't believe they are

19                   overbroad.       This has been raised numerous

20                   times by Mr. Symeou.          The district court

21                   has specifically addressed the issue.

22                                 Originally during the ex parte

23                   proceedings, the court looked at the scope

24                   of discovery and said, "You know what?


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 1                   This is too broad.         I'm not going to allow

 2                   this," and required the applicant to

 3                   revise the discovery request to make it

 4                   more narrow.       The judge approved it on

 5                   that basis.

 6                                 And then when Mr. Symeou

 7                   objected to the scope of discovery, the

 8                   court took that very seriously, had

 9                   several hearings on whether the scope of

10                   discovery was appropriate, and properly

11                   found, and this is vested in his

12                   discretion, that those documents were

13                   relevant to the issues that were at issue

14                   in the potential foreign proceedings, and

15                   we strongly, strongly agree with that and

16                   believe that the record strongly supports

17                   it.

18                                 I would point out, also, that

19                   the judge was very careful to respect the

20                   essential rights of the foreign parties.

21                   A very extensive protective order was

22                   entered.

23                                 These documents cannot be, as

24                   was said, given to the New York Times.


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 1                   They can't be used in any way.             They can't

 2                   be disclosed.        And they actually can't be

 3                   used in any proceeding, except the BVI

 4                   proceeding.

 5                                 So the court has exercised its

 6                   discretion in a very careful way after

 7                   multiple requests to address this issue.

 8                                 THE COURT:      What is the status

 9                   of the deadline for the BVI proceeding?

10                                 MR. TRACEY:      Under the

11                   protective order the court has given us

12                   until May of 2018 to either file the BVI

13                   proceeding or destroy the documents.

14                                 That deadline can be extended if

15                   we apply to the court and request an

16                   extension, and I can't predict whether

17                   that's going to happen, but Hornbeam is

18                   attempting to gather documents, not just

19                   in New York, but in other jurisdictions,

20                   including Florida, which is a very

21                   important place for the documents in this

22                   case, and because of multiple proceedings

23                   that we've had in Florida, we have not yet

24                   gotten any documents there.            So we're


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 1                   still working to collect the documents in

 2                   order to file a case.

 3                                 In the meantime, we filed a case

 4                   in the English courts, which was one of

 5                   the other jurisdictions or one of the

 6                   other cases that this application was

 7                   based on.

 8                                 I will just briefly address the

 9                   issue of the BVI judgment.            As the court

10                   below properly held, this is a very large

11                   case, with a very large amount of money at

12                   stake, tens of millions, if not hundreds

13                   of millions, of dollars, between two very

14                   well-off or three very well-off parties.

15                   And in the BVI there was essentially a

16                   cost assessment under BVI law of $846,000.

17                                 It's not entirely clear whether

18                   that would have to be paid before a BVI

19                   case can be filed, but it was paid, and

20                   there is -- it would be very hard to

21                   imagine that a party would walk away from

22                   a tens or hundreds of millions of dollars

23                   case just because they had to pay a cost

24                   assessment in a prior BVI action.


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 1                                 So the district court in this

 2                   case, as well as other cases, have

 3                   considered this issue and determined, in

 4                   their discretion, it's a discretionary

 5                   issue, that the existence of that cost

 6                   order would not preclude Hornbeam from

 7                   filing a foreign proceeding.

 8                                 And I'll just, in terms of the

 9                   Rule 45 issue, as we've noted, that issue

10                   is completely moot.          The parties have had

11                   full opportunity to object to it, but I

12                   would point out that there is no

13                   requirement in Rule 45 to notify potential

14                   adverse foreign parties.

15                                 Rule 45 requires the prior

16                   notice to a party, and it's very different

17                   from Rule 27, which if you are going to

18                   try to take a deposition of a potential

19                   party, there is a requirement,

20                   specifically in Rule 27, to notify that

21                   potential foreign party.           That does not

22                   exist in --

23                                 THE COURT:      Why isn't this one

24                   of those cases where the issue, the


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 1                   ex parte issue, is capable of a petition

 2                   to get a date of review?

 3                                 MR. TRACEY:      In the sense that

 4                   a, that a party might be able to --

 5                                 THE COURT:      They're really

 6                   criticizing the ex parte nature of the

 7                   matter, and you're saying no, no, it's

 8                   moot, because they subsequently had an

 9                   opportunity to duke it out, for lack of a

10                   better term, and to participate, but why

11                   isn't this issue of whether it's

12                   appropriate to proceed ex parte one of

13                   those issues that might evade a review?

14                                 MR. TRACEY:      There have been

15                   many, many cases, Your Honor, involving

16                   ex parte proceedings.          Of course, the

17                   courts have consistently held that

18                   ex parte proceedings are appropriate.               The

19                   real --

20                                 THE COURT:      You are making

21                   argument about (inaudible).

22                                 MR. TRACEY:      Yes.

23                                 THE COURT:      That goes to our

24                   jurisdiction.        So I'm interested.


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 1                                 MR. TRACEY:      It's an interesting

 2                   question, Your Honor.          It potentially

 3                   could evade review.          It would be

 4                   reviewable in the event that a subpoena

 5                   was issued, and I guess there was no,

 6                   there was no review, and the party then

 7                   comes in later.

 8                                 THE COURT:      So it might not be

 9                   moot?

10                                 MR. TRACEY:      It might not be

11                   moot in other cases.

12                                 THE COURT:      (Inaudible) the

13                   district court found that you violated the

14                   rule.

15                                 MR. TRACEY:      The district court

16                   found that there was no case on point, but

17                   that, if you looked at the overall

18                   structure of discovery under the Federal

19                   Rules of Civil Procedure, he acknowledged

20                   that there was no case that held it and no

21                   rule that held it, but he thought it was

22                   the right, the right way to go.

23                                 THE COURT:      And you have not --

24                   I mean, you're arguing with us today that


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 1                   you were under no (inaudible) but you

 2                   didn't appeal that part of the ruling.

 3                                 I mean, what the district court

 4                   ultimately did was it declined to vacate

 5                   or cost, saying that Symeou wasn't

 6                   prejudiced from the lack of notice, but I

 7                   don't know how you argue to us that you

 8                   were under no notice obligation when you

 9                   haven't appealed that ruling.

10                                 I mean, you can defend the

11                   decision that there was no prejudice, but

12                   I'm not sure you can argue that, you can

13                   challenge the ruling of the district court

14                   now.

15                                 MR. TRACEY:      I accept that, Your

16                   Honor.     The court did hold that there was

17                   no prior guidance on that, and so --

18                                 THE COURT:      I just want to be

19                   clear as to what you're asking us now, to

20                   say that there is no obligation to give

21                   notice in a circumstance such as this, and

22                   I don't see why we should do that when you

23                   didn't appeal the ruling.

24                                 MR. TRACEY:      I agree with that,


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                                                                24


 1                   Your Honor.

 2                                 THE COURT:      All right.      But I

 3                   understand, I took your point to be that

 4                   that kind of explained why what happened

 5                   happened.

 6                                 MR. TRACEY:      Exactly, Your

 7                   Honor.     At the time that this application

 8                   was made and the subpoenas were issued,

 9                   there was no guidance on this, and so to

10                   ask for sanctions against the party who

11                   acted based on violation of a rule that

12                   didn't exist would be inappropriate.

13                                 THE COURT:      Thank you.

14                                 MR. TRACEY:      Thank you, Your

15                   Honor.

16                                 THE COURT:      Mr. Marks, I think

17                   you reserved two minutes?

18                                 MR. MARKS:      Is this yours or

19                   mine?     Thanks.

20                                 Judge, yes.      Judge Lohier, it's

21                   not moot.      The court should address the

22                   issue of ex parte.         It happens.       It's

23                   happening all the time.           I don't want to

24                   argue it in detail.          It's in our briefs.


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 1                   In this case it violated a local rule of

 2                   the Southern District of New York, and

 3                   there is also a judicial cannon on point

 4                   regarding ex parte communications.

 5                                 We think it's a serious issue,

 6                   not just because of us, because, as the

 7                   court in the Ninth Circuit said, we cite

 8                   in our brief, ex parte proceedings are

 9                   anathema to our system.

10                                 I will let Your Honors decide

11                   that issue on the briefs, but we think

12                   it's an important issue substantively in

13                   this circuit.

14                                 Next, every judge, there was

15                   somebody who just spoke here, ever judge

16                   who has heard our side, Florida, Alabama,

17                   Ohio, changed their position once they

18                   heard our side.

19                                 In Florida the court stayed the

20                   discovery.       We still haven't had a hearing

21                   on the motion to vacate, but the subpoenas

22                   have never been allowed to be served.

23                                 In Alabama the court did exactly

24                   what I said that she did; she narrowed the


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 1                   scope of the subpoenas to only the

 2                   Warren Steel and the Halliwell records.

 3                   That's the only thing that the

 4                   11th Circuit affirmed.

 5                                 In Ohio the court stayed the

 6                   discovery because she concluded that if

 7                   they hadn't paid the BVI judgment, which

 8                   they never did voluntarily, Your Honor,

 9                   that proceedings were within reasonable

10                   contemplation.

11                                 They still haven't served the

12                   discovery in Delaware.

13                                 I mean, they say that we're the

14                   reasons that there's delay?            They didn't

15                   serve the subpoenas in Florida for a year

16                   and a half.       They didn't serve the

17                   subpoenas in Ohio for a year and a half,

18                   and here we are three years later, after

19                   they got subpoenas in Delaware, they

20                   weren't served; and they had subpoenas in

21                   this district against two accounting firms

22                   and a law firm, for which the principals,

23                   our principals, were clients, they didn't

24                   serve subpoenas on them because they knew


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 1                   that those companies would have

 2                   immediately notified our clients that

 3                   there was an ex parte order.             We only

 4                   learned about this through the media.

 5                                 THE COURT:      Sounds to me like

 6                   you are making the argument that you will

 7                   make in May of 2018 when they seek an

 8                   extension, that they haven't been -- they

 9                   have been dilatory.

10                                 MR. MARKS:      Well, Your Honor, we

11                   don't believe on this record that new

12                   proceedings are within reasonable

13                   contemplation at all, and that's what the

14                   court in Ohio concluded, one she stated,

15                   because they didn't pay the BVI judgment,

16                   and there was absolutely no rationale for

17                   them not to have paid it if they wanted to

18                   get the discovery, because they couldn't

19                   use the discovery in the BVI.

20                                 Let me add a point on the issue

21                   of disclosure.        There is a duty of

22                   disclosure; they violated it.             The Pioneer

23                   case, Supreme Court, in our brief, that's

24                   where the client was sanctioned because of


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 1                   the conduct of the attorneys.

 2                                 Let's talk about the notice

 3                   under Rule 45.        It's really a ridiculous

 4                   point.     Of course, there had to be notice.

 5                   Gushlak, and, Your Honor, you were on a

 6                   case, I believe, where you cited Gushlak,

 7                   and said, "Well, this is the practice to

 8                   do it ex parte for 1782."            Why did Gushlak

 9                   come to that conclusion?           It said because

10                   you would get notice so that you could

11                   challenge the subpoenas.           They cited that

12                   case in their brief in order to get the

13                   ex parte order.

14                                 How in the world could we have

15                   gotten notice to challenge the subpoenas

16                   if they didn't provide them to us?

17                                 Any experienced practitioner --

18                                 THE COURT:      I understand that

19                   the one failure, in your mind, aggravates

20                   the other, but, you know, at a certain

21                   level we take them apart, and I understand

22                   why that might support the notice

23                   argument --

24                                 MR. MARKS:      Rule 45.


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 1                                 THE COURT:      -- or that that

 2                   warrants us saying the ex parte order --

 3                   revisiting the ex parte orders part.

 4                                 MR. MARKS:      Absolutely two

 5                   different issues, Your Honor.

 6                                 One is the issue, do you have a

 7                   duty of disclosure in an ex parte

 8                   proceeding?       And if you violate it, what's

 9                   the sanction?        At a minimum the sanction

10                   ought to be that they destroy the

11                   unrelated records.

12                                 Second, Rule 45, separate issue,

13                   absolutely.       Okay?    They had a duty to

14                   serve the subpoenas on this.             What's the

15                   sanction?      And there's cases, we cite them

16                   in our brief, you know, where here there's

17                   actual harm, because they got the records,

18                   the sanction at a minimum ought to have

19                   been that they had to destroy the

20                   unrelated records.

21                                 Let me just add one other point,

22                   Your Honor, to the question that you

23                   asked.

24                                 THE COURT:      I would ask that you


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 1                   do it quickly.

 2                                 MR. MARKS:      Okay.    On prejudice,

 3                   the other prejudice we suffered is we

 4                   couldn't seek a stay of the order before

 5                   the discovery was issued.

 6                                 We got a stay from the

 7                   11th Circuit.        Even if Judge Broderick

 8                   disagreed with us, okay, if we had had

 9                   notice, and we would have litigated it,

10                   and he would have entered the order before

11                   the subpoenas were served, or at least

12                   before the discovery was issued, it's a

13                   final order, that's what happened in the

14                   11th Circuit; we appealed it, we went to

15                   the 11th Circuit, and we got a stay.                That

16                   right was stripped from us because it was

17                   an ex parte proceeding that we never got

18                   notice of.

19                                 Thank you.

20                                 THE COURT:      Thank you both very

21                   much.     We will take the matter under

22                   advisement.

23                           (Audio transcription concluded.)

24                                    - - - - -


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